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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA



 SHAWN JOHNSON,                             )
                                            )
                      Petitioner,           )
 v.                                         )      No. 3:05-CV-175-RLY-WGH
                                            )
 CRAIG HANKS, Superintendent,               )
                                            )
                      Respondent.           )




                                          ENTRY

          The petitioner seeks leave to proceed on appeal without prepayment of the appellate
 fees of $255.00. An appeal may not be taken in forma pauperis if the trial court certifies
 that the appeal is not taken in good faith. 28 U.S.C. § 1915; see Coppedge v. United
 States, 369 U.S. 438, 82 S. Ct. 917 (1962). "Good faith" within the meaning of § 1915 must
 be judged by an objective, not a subjective, standard. See Id. There is no objectively
 reasonable argument which the defendant could present to argue that the disposition of this
 action was erroneous. In pursuing an appeal, therefore, the petitioner “is acting in bad faith
 . . . [because] to sue in bad faith means merely to sue on the basis of a frivolous claim,
 which is to say a claim that no reasonable person could suppose to have any merit.” Lee
 v. Clinton, 209 F.3d 1025, 1026 (7th Cir. 2000). Accordingly, his appeal is not taken in good
 faith, and for this reason his request for leave to proceed on appeal in forma pauperis is
 denied.

        IT IS SO ORDERED.




                                                _______________________________

 Date: 02/21/2006                                RICHARD L. YOUNG, JUDGE
                                                 United States District Court
                                                 Southern District of Indiana
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